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                         IN THE U.S. COURT OF FEDERAL CLAIMS
                        __________________________________________

                               CASE NO. 1:14 –CV-00183-NBF
                               Senior Judge Nancy B. Firestone
                        __________________________________________

                                IDEKER FARMS, INC., et al.

                                                                       Plaintiffs,
                                            v.

                                     UNITED STATES

                                                                       Defendant.
                        __________________________________________

            BELLWETHER PLAINTIFFS’ COMBINED REPLY TO THE
      “UNITED STATES’ RESPONSE TO PLAINTIFFS’ BRIEF REGARDING THE
        IMPACT OF ST. BERNARD PARISH ON PLAINTIFFS’ MOTION FOR
           RECONSIDERATION” AND SURREPLY TO “UNITED STATES’
         REPLY IN SUPPORT OF ITS MOTION FOR RECONSIDERATION”

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I.     Introduction

       The Government, in its Response, ECF No. 435, and its “Motion for Reconsideration[,]”

ECF No. 436, both filed on May 14, 2018, makes the same contention – that Plaintiffs’ claims

should be dismissed because they do not satisfy the correct legal standard for assessing “but-for”

causation in accordance with St. Bernard Parish (“SBP”). St. Bernard Par. Gov’t v. United

States, 887 F.3d 1354 (Fed. Cir. 2018). SBP held that the plaintiffs failed to apply the correct

causation standard in two separate respects: (1) they relied, in part, on government inaction,

rather than relying solely on affirmative government acts (“affirmative-acts” reason/standard), id.

at 1357; and (2) they failed to assess the impact of all flood risk-reducing government actions,

namely, the construction of the LPV project (“all-acts” reason/standard).         Id. at 1362-64.

However, the Government chose to bring its Motion for Reconsideration on an affirmative-acts

causation reason only. Specifically, the Government alleged only that Plaintiffs failed to account

for the Government’s preceding flood risk-reducing actions of constructing the Missouri River

Mainstem Reservoir System (“System”) dams, the federal levees, and the Bank Stabilization and

Navigation Project (“BSNP.”)1 U.S. Mot. for Recons., ECF No. 436 at 2.

       In Plaintiffs’ Combined Response of May 31, 2018, ECF No. 440, filed on May 31,

2018, they refuted the Government’s initial “bare bones” SBP all-acts causation allegation and

argument for dismissal. Subsequently, however, in its “Response to Plaintiffs’ Brief Regarding

the Impact of St. Bernard Parish on Plaintiffs’ Motion for Reconsideration,” ECF No. 441, filed

on May 31, 2018, and its “Reply in Support of Its Motion for Reconsideration,” ECF No. 442,

filed on June 15, 2018, the Government alleged for the first time, without requesting leave to

1
 The Government’s contention and bare bones argument in support of its Motion for
Reconsideration is expressly incorporated by reference in its Response in opposition to
Plaintiffs’ Motion for Reconsideration. U.S. Resp. to SBP, ECF No. 435 at 1 (“For the reasons
stated in the United States’ Motion for Reconsideration, ECF No. 436, this Court should deny
Plaintiffs’ motion and dismiss all Plaintiffs’ claims.”).


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amend its Motion, that Plaintiffs’ claims should also be dismissed for an affirmative-acts

causation reason. 2 The Government does not assert any basis for excusing its omission of this

separate and distinct ground for its Motion that would allow it to raise it at this late stage;

accordingly, it is waived. In any event, as discussed below, this allegation and the arguments of

the Government in opposition to Plaintiffs’ Motion for Reconsideration and in support of its own

Motion do not support a dismissal of Plaintiffs’ claims pursuant to SBP. Hence, because the

Government’s Motion for Reconsideration is based solely upon SBP causation reasons, it should

be denied in all respects. And, to the extent the Government relies on those reasons to oppose

Plaintiffs’ Motion for Reconsideration, they should be ignored as meritless. 3

II.    Government’s Arguments in Its “Response to Plaintiffs’ Brief Regarding the Impact
       of St. Bernard Parish on Plaintiffs’ Motion for Reconsideration”

       In its Response to Plaintiffs’ Opening SBP Brief, ECF No. 441, the Government raised

several arguments in support of dismissing all of Plaintiffs’ claims based upon the previously

alleged SBP all-acts causation reason. In addition, the Government, for the first time, alleges a

SBP affirmative-acts causation reason for dismissal. This is the first opportunity for Plaintiffs to

respond/reply to the same. For the reasons discussed below, all of the Government’s SBP

causation allegations and arguments for dismissal are without merit.




2
  In this brief, Plaintiffs reply/surreply only to the new SBP arguments of the Government raised
in its Response in opposition to Plaintiffs’ Motion for Reconsideration and in its Reply in
Support of its Motion for Reconsideration, to which Plaintiffs have not previously had the
opportunity to reply/surreply and do not raise any new arguments as to the same that would
require any additional SBP briefing by the Government.
3
  For the sake of clarity, Plaintiffs will first reply to the SBP arguments the Government raises in
its Response to Plaintiffs’ Opening SBP Brief in the same order they appear in the Response.
Plaintiffs will then surreply to the Government’s arguments in support of its Motion for
Reconsideration in the same order they appear therein. Of course, where there is a duplication of
an argument, that will be noted and the argument will only be addressed by Plaintiffs once to
avoid redundancy.


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       A.      Government’s Erroneous Contention: “The Causation Standard Requires
               Consideration of All Government Actions That Impact Flooding on
               Plaintiffs’ Property.”

       Relying on SBP, the Government erroneously contends as to its all-acts causation reason

for dismissing Plaintiffs’ claims that they failed to prove the causation of their claims because

they did not account for all the Government’s actions in managing the River to reduce flooding,

specifically, the Corps’ construction of the System dams, the federal levees, and the BSNP. U.S.

Resp., ECF No. 441 at 1. The Government’s contention rests on an overly broad and naively

simplistic reading of SBP and is wrong.

       SBP does hold that based upon the particular facts and circumstances of that case, the

SBP plaintiffs in proving that the construction and failure to maintain MRGO caused the

flooding in question, had to account for the “impact” of all the flood risk-reducing government

actions in managing the channel, specifically, the subsequently constructed yet contemplated

LPV project. SBP, 887 F.2d at 1363-64, 1367-68. Hence, in the context of the requisite but-for

comparison of flooding to establish causation, the Federal Circuit held that to account for that

impact, the plaintiffs had to prove that the flooding in question would have been less had the

Government not acted at all with respect to managing the channel to provide flood control, i.e.,

if it had not constructed the LPV project. Id. at 1362-65.

       The Government, seizing on the Federal Circuit’s treatment of the concept of “impact” as

a component of the requisite but-for causation comparison, contends that pursuant to SBP, the

relevant flood risk-reducing government actions to be considered are all actions from the

beginning of time that had any impact on reducing flooding, regardless of their order of

occurrence or chronology. Hence, the Government argues that the requisite but-for flooding

comparison to establish causation required Plaintiffs to compare the flooding that occurred with

the MRRP Changes (the alleged subsequent flood risk-increasing actions) to the flooding that


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would have occurred not only without the MRRP Changes, but without the System dams, the

federal levees, and the BSNP – the flooding that would have occurred given the natural state of

the River. In so arguing, the Government submits that this is a hard and fast rule or standard of

causation adopted by the Federal Circuit that it intended to be applied for assessing causation

regardless of the particular facts and circumstances of the takings case in question, including

those found by this Court in Ideker. Besides being illogical, given the accepted underpinnings of

takings causation jurisprudence, any fair reading of SBP simply does not support the

Government’s contention and arguments in support of the same.

       Plaintiffs do not dispute that, in establishing causation, they made no comparison to the

flooding that would have occurred without the System dams, the federal levees, and the BSNP,

but contend they were not required to under the correct standard for assessing causation.

Plaintiffs do, however, strenuously dispute the Government’s argument that they had no legal

basis for doing so, but were simply cherry picking the government acts they wanted to include in

their assessment of causation, not those required. To establish causation, Plaintiffs compared the

actual flooding that occurred with the MRRP Changes to the flooding that would have occurred

without them, because the MRRP Changes were the government acts at issue with respect to

causation given their alleged theory of causation and the applicable law implicated thereby.

However, in Plaintiffs’ but-for comparison for proving causation, the “impact” of every
                                                                                                   4
government act on flooding was, indeed, taken into consideration, as the record reflects.

Plaintiffs’ approach as to their but-for comparison was logical, both legally and factually,

4
 As Plaintiffs’ have discussed throughout, while a factor may have an “impact” on the flooding
that is being compared as part of the requisite but for comparison, it may not be a “but for” factor
in that while it might have some impact, the flooding in question was going to happen regardless
of whether that factor did or did not exist. In proving their claims as to causation, Plaintiffs
included any and all factors that impacted the flooding in any way, including the impacts of the
existing System dams, the federal levees, and the BSNP, as well as the impacts of the Corps’
policies and procedures in operating the System and operating and maintaining the BSNP.


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because their theory of causation, which this Court has recognized, is predicated on what the

impact of the MRRP Changes were in altering the existing flooding patterns of the River at the

time, not the flooding patterns at the beginning of time, as the Government contends is correct

under the all-acts standard. See Ark. Game & Fish Comm’n v. United States II, 568 U.S. 23,

29; Ark. Game & Fish Comm’n v. United States III, 736 F.3d 1364, 1372-74; King v. United

States, 427 F.2d 767, 769 (Ct. Cl. 1970) (recognizing that the key to establishing causation is

whether there has been in change in the existing flooding pattern of the river).

       Contrary to the Government’s contentions, any fair reading of SBP reveals that the

Federal Circuit deliberately left open the question of whether the all-acts causation standard

enunciated and applied in SBP would also apply in a case like Ideker or whether an exception

would apply. Indeed, the Federal Circuit in SBP cited to John B. Hardwicke Co. v. United

States, 467 F.2d 488, 490-91 (Ct. Cl. 1972) as having “suggested” a different causation

“approach” to determine if a different standard for assessing causation would apply, other than

the all-acts standard, where, unlike in SBP, the flood risk-reducing action in question was not

subsequent to, but preceded the alleged flood risk-increasing action. SBP, 887 F.3d at 1367

n.14. The Federal Circuit recognized that under that approach, flood risk-reducing actions do

not have to be considered if two predicates are met: (1) the flood risk-increasing action alleged

did not precede the flood risk-reducing government action in question (the “chronology

predicate”); and (2) the alleged flood risk-increasing action was not contemplated at the time of

that flood risk-reducing action (the “contemplation predicate”).5 Id. And, of course, this is the

precise factual situation at issue in this case, where the flood risk-reducing acts, which the


5
 Logically, of course, if the chronology predicate is not met, the contemplation predicate
becomes irrelevant inasmuch as a subsequent flood risk-reduction action must be considered
under either the all-acts or the Hardwicke standard for assessing causation.


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Government asserts must be included in the but-for causation comparison, predated for

generations the flood risk-increasing actions alleged as causing the flooding in question, the

MRRP Changes, that were in no way contemplated at time of those flood risk-reducing actions.

       Making the application of the Hardwicke standard for assessing causation contingent on

satisfying the two factual predicates of the Hardwicke test makes perfect sense in light of the

reasonable expectation of flooding factor that must be considered in the net-benefits analysis of

causation that was adopted by SBP. As discussed at length in Plaintiffs’ Response, ECF No.

440 at 8-11, where a government flood risk action occurs after another action, rather than before

it, there can be no consideration or contemplation of the impact of that subsequent action, if any,

at the time of the prior action, that would shape an expectation of flooding, unless a sufficient

“nexus” can be established between the two from which the likelihood or certainty of that impact

can be reasonably inferred.     Hence, the “contemplation” predicate is a codification of the

“reasonable expectation” of flooding factor. The inquiry being, as framed by that codification,

whether there was a sufficient “nexus” between the preceding flood risk-reducing action and the

subsequent flood risk-increasing action that the plaintiff, at the time of the flood risk-reducing

action, contemplated (knew or should have known) that while the property in question would

likely benefit from the flood risk-reducing action in question, it would also be disadvantaged by

the contemplated subsequent flood risk-increasing action alleged. See Hardwicke, 467 F.2d at

491; SBP, 887 F.3d at 1364.

       The Federal Circuit, in discussing the Hardwicke approach in SBP as a possible correct

approach to determining the standard for assessing causation in certain circumstances,

determined that it was not necessary to decide that issue in deciding SBP because its facts did

not satisfy either predicate of the Hardwicke test for applying the Hardwicke standard as an




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exception to the all-acts standard, choosing to leave that issue for another day. Plaintiffs submit

that the Government has essentially admitted this point in stating that the Federal Circuit

“reserved judgment on ‘[w]hether the John B. Hardwicke approach is correct.” U.S. Resp., ECF

No. 441 at 3 (quoting SBP, 887 F.3d at 1367 n.14).

       In citing Hardwicke for the proposition that the causation test and standard “suggested”

by the Court of Federal Claims in that case might be the correct approach for assessing causation

under different facts than SBP, without deciding whether it was or was not, the Federal Circuit

was clearly signaling that it was not deciding that the all-acts causation standard that applied in

SBP also applied to Ideker factual situations, as the Government contends. Experience teaches

that it makes no sense for an appellate court, having decided an issue based upon a certain

analysis of the facts of the case at bar, to suggest that another approach might be the correct

approach if the facts were otherwise, if it intended for its analysis and decision in the case at bar

to extend to all factual situations, without exception. Hence, while Plaintiffs recognize that the

Federal Circuit did not address the issue of whether the Hardwicke standard applied in an Ideker

factual situation, although the Hardwicke court did, it is clear that it did not hold, as the

Government contends, that the all-acts standard is to be applied in all factual situations, without

exception, including in Ideker factual situations. The Government does not point to anything in

SBP from which it can be reasonably inferred that it expressly or impliedly overruled Hardwicke

and its approach to assessing causation in cases involving Ideker factual situations.

       Under the facts of Ideker, as found by the Court, both of the predicates of the Hardwicke

test are met. Accordingly, under Hardwicke and consistent with SBP, this Court was correct to

apply the Hardwicke standard in determining the causation of Plaintiffs’ claims in this case such

that the correct but-for comparison was the one employed by Plaintiffs’ proof. There can be no




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reasonable dispute that the alleged flood risk-increasing actions alleged, the MRRP Changes, did

not precede the flood risk-reducing actions, the construction of the System dams, the federal

levees, and the BSNP, which the Government argues should have been included in Plaintiffs’

but-for comparison for assessing causation. Likewise, there can be no reasonable dispute that the

MRRP Changes were not contemplated at the time of those flood risk-reducing actions. There is

no evidence in the record that would show a recognized and sufficient nexus between the MRRP

Changes and the construction of the System dams, the federal levees, and the BSNP that would

demonstrate any contemplation of the MRRP Changes at the time of those flood risk-reducing

acts.

        The Government raises three arguments in its Response to support its SBP all-acts

causation reason for dismissing Plaintiffs’ claims, which are discussed below. None of them

support applying the SBP all-acts standard for assessing causation in this case, as urged by the

Government.

               1.     Government’s Erroneous Argument: “To prove causation, Plaintiffs
                      must consider ‘all’ government actions that impact flood control
                      regardless of the order of the actions.”

        The Government argues that Plaintiffs’ reliance on the Hardwicke test and standard is

misplaced; specifically, their reliance on the chronology of the flood risk government actions, as

being a factor in determining the standard to be applied for assessing causation, is misplaced

because that discussion in Hardwicke was mere dicta since the court there ruled for the

Government and applied the all-acts standard.       It also argues that Plaintiffs’ reliance on

Hardwicke is misplaced because the Federal Circuit in SBP “did not endorse [its] dictum.”6 U.S.

Resp., ECF 441 at 2-3. The Government’s argument is confused and wrong on both counts.


6
 The Government’s dicta argument appears to attach importance to the fact that the Federal
Circuit used the term “suggested” in citing to Hardwicke. However, it does not cite any

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       Generally, dicta, is defined as “statements made by a court that are unnecessary to the

decision in the case, and therefore[,] not precedential.”7 Nat’l Am. Ins. Co., 498 F.3d at1306

(citations omitted); see also King v. Erickson, 89 F.3d 1575, 1582 (Fed. Cir. 1996), rev’d on

other grounds, LaChance v. Erickson, 522 U.S. 262 (1998) (dicta are “[w]ords of an opinion

entirely unnecessary for the decision of the case.” (quoting Black’s Law dictionary 1072 (6th

ed. 1990))). Under this definition of dicta, the Hardwicke causation discussion would not be

dicta, as the Government contends.

       In ruling for the Government, the Hardwicke court followed the Hardwicke test to the

letter and applied the all-acts standard because, unlike in Ideker, the plaintiff there could not

satisfy the contemplation predicate of the test – that the flood risk-increasing action (the second

dam) was not contemplated at the time of the flood-risk reducing action (the first dam). Hence,

the court, in ruling for the Government and applying the all-acts standard, did not find that the

chronology of the flood risk government actions events was irrelevant to assessing causation, as

the Government argues here, rather it ruled for the Government because the contemplation

predicate was not satisfied so as to trigger the application of the Hardwicke standard.

       The Hardwicke result squares perfectly with Plaintiffs’ contention that the Hardwicke

standard should apply in this case rather than the all-acts standard. Under Plaintiffs’ contention

and the Hardwicke test, if the chronology predicate is met, but the contemplation predicate is

not, as in Hardwicke, then the all-acts standard applies. However, under Plaintiffs’ contention,


authority or state the logic of why that would be important. Moreover, its argument ignores the
fact that whether words in an opinion are dicta has to be determined in the context of the
holding– what was the holding and were the words in question relevant to that holding. Nat’l
Am. Ins. Co. v. United States, 498 F.3d 1301, 1306 (Fed.Cir. 2007). The causation discussion
in Hardwicke relied upon by Plaintiffs does not square with the definition of dicta. Rather, it is a
critical discussion germane to the decision reached in Hardwicke.
7
  While dicta is not precedential, it can still be persuasive on an issue. Nat’l Am. Ins. Co., 498
F.3d at 1306.


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where, as in Ideker, both predicates are met, then the Hardwicke standard does apply. Hence,

contrary to the Government’s argument, in both instances, the chronology of the flood risk

actions is relevant in determining which standard should be applied under the Hardwicke test.

Thus, the causation discussion in Hardwicke relied upon by Plaintiffs is anything but dicta in

that it went to the heart of why the court there applied the all-acts standard. And, for that same

reason, the court’s ruling for the Government, in keeping with the Hardwicke approach and test,

did not make it dicta. Moreover, the Government’s dicta argument overlooks the fact that

Hardwicke is but one of a long line of cases championing the application of the Hardwicke

standard in Ideker factual situations, which must be followed by this Court since they were not

reversed by SBP. See, e.g., United States v. Miller, 317 U.S. 369 (1943); United States v.

Reynolds, 397 U.S. 14 (1970); see also Pls.’ Resp., ECF No. 440 at 6-13 (citing cases).

       The Government also contends that Plaintiffs cannot rely upon the Hardwicke test and

standard in this case because SBP “certainly did not endorse [that] dictum[.]”8 U.S. Resp., ECF

No. 441 at 3. First, as discussed above, the discussion in Hardwicke as to the standard for

assessing causation is not dicta. Second, whether Plaintiffs’ reliance on Hardwicke is misplaced

is in no way contingent on the Federal Circuit in SBP endorsing the Hardwicke test and

standard. Plaintiffs are legally and factually justified in relying on the Hardwicke approach even

though the Federal Circuit did not “endorse” it by affirming Hardwicke in deciding SBP,

because it was not necessary. Hardwicke, along with its approach for assessing causation

recognized therein, is good law.

8
 If the Government were right, no opinion by the Court of Federal Claims would be precedential
or persuasive until affirmatively “endorsed” by the Federal Circuit at some unknown time in the
future or in the case of a decision by the Federal Circuit when ultimately endorsed by the
Supreme Court. That makes no sense, but if that were the case, then the Government’s reliance
on SBP is misplaced since it has yet to be endorsed by the Supreme Court. The Government
cannot have it both ways. Moreover, the Government has effectively conceded that SBP did not
overrule Hardwicke. See U.S. Resp., ECF No. 441 at 3.


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       By expressly citing to Hardwicke and noting that it was not addressing whether the

alternative Hardwicke approach was the correct approach for assessing causation, the Federal

Circuit left Hardwicke and its test and standard for assessing causation undisturbed, which is

what Plaintiffs are relying upon in contending that their theory and proof of causation applied the

correct standard and is not contrary to SBP.         In declining to affirm (endorse) or reverse

Hardwicke, as being unnecessary to its holding in SBP, the Federal Circuit, in citing it and

analyzing the SBP facts under the Hardwicke approach, clearly confirms Plaintiffs’ contention

that SBP does not address what standard of causation is to be applied in Ideker factual situations

and certainly did not hold that the all-acts standard applied to Ideker factual situations, as the

Government argues. In fact, its actions signaled just the opposite.

       In support of its argument that the all-acts standard for assessing causation applies across

the board and that no standard has been recognized as an exception thereto, specifically, that the

Hardwicke standard is not a recognized exception to the all-acts standard for cases involving

factual situations like Ideker, the Government cites several cases, including Hardwicke. It cites

them for the proposition that even where the Hardwicke test is satisfied, the courts in those cases

nonetheless applied the all-acts standard, which means they did not recognize or honor the

Hardwicke exception to the all-acts standard in Ideker factual situations, touted by Plaintiffs.

However, logically for those cases to support the Government’s argument, they would have to

involve facts, like those in Ideker, that satisfied both predicates of the Hardwicke test and yet

the court still applied the all-acts standard. However, none of the cases cited by the Government

involve such facts and are not like Ideker. Hence, the Government’s reliance on them as

supporting its no-exception argument is misplaced.




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       The Government first cites Hardwicke, where the court found that the facts were

sufficient to satisfy the chronology predicate, but not the contemplation predicate (the court

found that the second dam was contemplated at the time of the construction of the first dam).

Accordingly, Hardwicke does not support the Government’s no-exception argument that the all-

acts standard will apply even where the Hardwicke test is satisfied. Rather, it supports Plaintiffs’

contention that the all-acts standard applies, except where both predicates are satisfied, then the

Hardwicke standard applies.

       The Government next cites Ark. Game & Fish III in support of its no-exception

argument; however, factually, it is just like Hardwicke with respect to the Government’s no

exception argument, that although the chronology predicate is satisfied, the contemplation

predicate is not. There was no finding, and there could be none given the facts, to satisfy the

contemplation predicate. Hence, Ark. Game & Fish, like Hardwicke, does not support the

Government’s no-exception argument that the all-acts standard will apply even where the

Hardwicke test is satisfied.

       The Government cites three additional cases in support of its no-exception argument: (1)

Cary v. United States, 552 F.3d 1373, 1375 (Fed. Cir. 2009); (2) Danforth v. United States, 308

U.S. 271, 286-87 (1939); and (3) Accardi v. United States, 599 F.2d 423, 429 (Ct. Cl. 1979).

However, just like Hardwicke and Ark. Game & Fish none of them involved a factual situation

that satisfied both predicates of the Hardwicke test yet the court nonetheless applied the all-acts

standard rather than the Hardwicke standard.          Hence, none of these cases support the

Government’s no-exception argument.

       Finally, as to the significance of the chronology of the Government’s flood risk actions in

assessing causation, the Government argues that even if Plaintiffs are correct that the Hardwicke




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standard applies, Plaintiffs in proving causation still had to account for all the flood risk-reducing

acts of the Government that occurred subsequent to the implementation of the MRRP in 2004,

which they failed to do. This argument that Plaintiffs failed to take into account all of the post-

2004 Government actions bearing on flood risk on the River is mindboggling in light of the fact

that Plaintiffs’ experts testified at length about taking into consideration all factors or actions that

would have contributed to cause the flooding in question in rendering their causation opinions.

See, e.g., Tr. 4487:19-25, 5053:7-12, 8551:19-8552:5, 6326:23-6327:10; see also Pls.’ Reply,

ECF No. 434 at 31 n.10. Rather than belaboring this obvious point already found by the Court,

Plaintiffs submit that in making the requisite but-for comparison of flooding to prove causation,

their proof did, in fact, take into account the impacts of any and all factors or government actions

contributing to cause the flooding in question, including the impacts of government actions after

the MRRP was implemented in 2004.

                2.      Government’s Erroneous Argument: Plaintiffs cannot avoid their
                        failure of proof on causation by making arguments unrelated to
                        causation.

        Plaintiffs, in their prior SBP briefing, contend that the application of the all-acts

causation standard to Ideker factual situations makes no sense because it cuts against the

mandatory showing for proving their claims that they had a reasonable expectation that they

would not experience the flooding in question – that the flooding in question was atypical or

unexpected. While the Government does not deny that such proof is necessary to establish

Plaintiffs’ claims, it wrongly contends that this showing has no bearing on assessing causation.

While the Government readily accepts the net-benefits analysis of the all-acts standard of

causation, it does not want to accept such an analysis’ undeniable implication of the reasonable

expectation of flooding factor in determining that causation, investment-backed or otherwise. In

fact, the Government goes so far as to contend that in raising this issue, Plaintiffs’ theory of


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causation is necessarily predicated on an impermissible tort theory that the Government owed a

duty to provide a certain level of flood protection, which had been breached. The Government’s

argument is wrong on all counts.

       In making the case for a net-benefits analysis of causation, the Federal Circuit in SBP

cites favorably to Sponenbarger as holding that the “‘far reaching benefits which respondent’s

land enjoys’ . . . had to be considered [in determining causation. . .]” SBP, 887 F.3d at 1364

(quoting United States v. Sponenbarger, 308 U.S. 256, 266-67 (1939)).            Similarly, citing

Hardwicke, the Federal Circuit recognized that the court there had found that the plaintiff had

failed to prove causation because despite the subsequent construction of the second dam, “the

expectation of flooding was still far less than it would have been if there had been no flood

control program at all.” SBP, 887 F.3d at 1364 (quoting Hardwicke, 887 F.2d at 490-91)

(emphasis added). Not only does this recognize that the expectation of flooding is part of the net

benefits analysis of the all-acts standard of causation, but it also explains the role of the

contemplation predicate of the Hardwicke test for determining whether to apply the all-acts

standard or Hardwicke standard. In other words, the reasonable expectation of flooding is a

relevant factor in determining causation under both SBP and Hardwicke. Hence, the Federal

Circuit, in expressly referencing a reasonable expectation of flooding as a factor in determining

causation under the net benefits analysis of the all-acts standard, refutes the Government’s

argument that an expectation of flooding is not part of assessing causation.

       The Government cannot have it both ways, it either stands behind the net benefits

calculus of causation in SBP or it does not. Either way, the Government loses as to both parties’

Motions for Reconsideration. Moreover, any fair reading of Plaintiffs’ argument with respect to

a reasonable expectation of flooding, investment-backed or otherwise, and Plaintiffs’ theory and




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proof of causation, make it crystal clear that they are not claiming a breach of a duty of the

Government to provide a certain level of flood control, as argued by the Government. Plaintiffs’

theory and proof of causation have always centered not on whether the Government breached a

duty to keep Plaintiffs free from flooding, but on whether the Corps’ paradigmatic change in its

pre-MRRP River management policy led to increased flooding that would not otherwise

occurred.

               3.     Government’s Erroneous Argument: Dismissing Plaintiffs’ claims for
                      failing to prove causation is consistent with the purpose of the Fifth
                      Amendment.

       Plaintiffs contend in both their Reply, ECF No. 434 at 33-34, and their Response, ECF

No. 440 at 20-23, that SBP cannot and should not be read as applying the all-acts standard of

causation to cases like Ideker because that would mean that the Federal Circuit created an

impermissible “bright-line defense” or “exclusionary rule” that, practically speaking, would

automatically bar such cases. Plaintiffs contend that applying the all-acts standard to cases like

Ideker would create, in effect, an exclusionary rule as to those cases because, practically

speaking, no claim of a taking by flooding in such cases could ever be maintained under that

standard. Pltf.’s Resp., ECF No. 440 at 21-22. In support of their contention, they argue that

because Ark. Game & Fish II mandates that “[f]looding cases, like other takings cases, [are to]

be assessed with reference to the ‘particular circumstances of each case,’ and not by resorting to

blanket exclusionary rules,” SBP must be interpreted and applied in such a way that does not

create such a rule, i.e., it cannot be interpreted as extending the all-acts standard to cases like

Ideker. Id. at 20 (quoting Ark. Game & Fish II, 568 U.S. at 37 (emphasis added) (citations

omitted)).

       In attempting to refute Plaintiffs’ contention, the Government argues that just because

“Plaintiffs’ claims fail under the [all-acts] causation standard is not a flaw in the causation


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standard; it is a flaw in Plaintiffs’ claims.” U.S. Resp., ECF No. 441 at 10; U.S. Reply, ECF

No. 442 at 14. Of course, Plaintiffs do not contend that that the all-acts standard is universally

“flawed,” but that it cannot apply to cases like Ideker for the reasons given. The Government

also argues that the plaintiffs’ success in Ark. Game & Fish refutes Plaintiffs’ contention that

practically speaking, no claim of a taking by flooding like the Ideker claims involving the

Missouri River could ever be successful. Both of the Government’s arguments are directed at a

mischaracterization of the reasoning actually asserted by Plaintiffs for why the application of the

all-acts standard to cases like Ideker would act to create an impermissible exclusionary rule and

are, therefore, irrelevant in deciding Plaintiffs’ exclusionary-rule contention.

       Plaintiffs do not contend that an exclusionary rule is created, in effect, by interpreting

SBP as applying the all-acts standard to cases like Ideker, simply because Plaintiffs’ claims

would fail under that standard. Rather, using the net benefits analysis of the standard urged by

the Government would mean that a plaintiff in a takings case like Ideker, involving (1) flood

risk-reducing government actions completely transforming a river (construction of the System

dams, the federal levees, and the BSNP), to provide flood control for generations to develop land

located in or near the floodplain to entice people and businesses to locate and invest there and (2)

subsequent and non-contemplated flood risk-increasing actions (the MRRP Changes) that caused

both permanent and temporary injury, would be tasked, in order to show causation, with

showing that any such injury would not have occurred even without those flood risk-reducing

actions. Common sense and logic dictate that this would be an impossible burden in all cases

like Ideker, especially in the case of claims for temporary injuries, such that the application of

the standard of causation urged by the Government in cases like Ideker would, indeed, act as an

impermissible exclusionary rule as to any and all such cases, even where the Government acts




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intentionally to take land by flooding or otherwise.       And, because Ark. Game & Fish is

obviously not like an Ideker case factually in these key respects for why causation could never

be established, the Government’s championing it as refuting Plaintiffs’ contention is beyond

feeble; it just makes no sense and does nothing to refute their contention.

       If the Government’s one-size fits all standard for assessing causation, without exception,

is accepted by the courts, it will not only act as a fundamental change to the bedrock of takings

by flooding cases, but it will have the same effect on other types of takings cases. Ark. Game &

Fish II mandates that takings by flooding cases be treated “like other takings cases” in their

proof. 568 U.S. at 37. Accordingly, whatever standard is adopted for Ideker cases, it will apply

to all takings cases, not just takings by flooding cases. Hence, if the Government’s one-size-fits-

all standard, disregarding the particular circumstances of a takings case, is accepted that would

mean that where a highway is constructed for the purpose of developing an undeveloped area

consisting of cow pastures worth very little, which results in retail business properties worth

millions, property owners would not be compensated for land subsequently and intentionally

taken by the Government for non-contemplated highway expansion because the plaintiffs could

never show that the taking, especially a temporary taking, exceeded the value of the benefits

bestowed by the construction of the highway. Thus, the Government’s reading of SBP and the

reach of the all-acts standard would render absurd results in takings cases of every ilk, which are

abhorred in the law, and, in effect, would impermissibly eviscerate the intent of the Takings

Clause in such cases.

       B.      Government’s Contention: Plaintiffs’ Case Depends, in Part, on the United
               States’ Alleged Failure to Act.

       For the first time, the Government alleges, without leave to amend its Motion for

Reconsideration, that Plaintiffs’ theory and proof of causation impermissibly relied, in part, on



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the Government’s failure to act, specifically, that the Corps failed to maintain the BSNP as part

of Plaintiffs’ alleged MRRP Changes. U.S. Resp., ECF No. 441 at 11. If not waived, this

allegation was refuted by Plaintiffs in their Reply in support of their Motion for

Reconsideration,” ECF No. 434 at 25-28, which to avoid redundancy will not be repeated here.

III.   Government's Arguments in Its "Reply in Support of Its Motion for
       Reconsideration”

       All of the Government’s arguments, but one, in its Reply in Support of its Motion for

Reconsideration, ECF No. 442, are nothing more than a rehash of the arguments it made in its

Response to Plaintiffs’ Opening SBP Brief, ECF No. 441 which Plaintiffs have already refuted

above. For the sake of avoiding unnecessary redundancy, Plaintiffs will not repeat those retread

arguments.

       A.      Government’s Contention: “The Proper Causation Standard Requires
               Consideration of All United States Actions That Address the Risk of
               Flooding on Plaintiffs’ Property.”

       The Government makes this same contention in its Reply discussed above, section I,

ECF No. 441 at 2-10, for dismissing all of Plaintiffs’ claims for failing to apply the all-acts

standard of causation with respect to the Government’s flood risk-increasing actions in

constructing the System dams, the federal levees, and the BSNP that preceded the MRRP

Changes, which contention and supporting arguments Plaintiffs refute above. They will not

repeat any of those arguments in this surreply to the Government’s Motion for Reconsideration.

               1.      Government’s Argument: “Plaintiffs’ reliance on John B. Hardwicke
                       does not cure their failure to account for all the United States’ flood
                       risk-reducing actions.”

       This is the same argument raised by the Government in section I.a, ECF No. 441 at 2-8.

Plaintiffs will not repeat their arguments refuting the same.




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               2.      Government’s Argument: “The cases relied on in St. Bernard Parish
                       demonstrate that the proper causation standard must account for all
                       United States actions that address the relevant risk.”

       This is the same argument raised by the Government in section I.a, ECF No. 441 at 6-7.

Plaintiffs will not repeat their arguments refuting the same.

               3.      Government’s Argument:           “The reasonable investment-backed
                       expectations of the Plaintiffs are not part of the causation analysis.”

       This is the same argument raised by the Government in section I.b, ECF No. 441 at 8-9.

Plaintiffs will not repeat their arguments refuting the same.

               4.      Government’s Argument:          “Plaintiffs’ claim fails under John B.
                       Hardwicke.”

       This is the same argument raised by the Government in section I.a, ECF No. 441 at 7-8.

Plaintiffs will not repeat their arguments refuting the same.

       B.      Government’s Argument: “The Proper Causation Standard Does Not
               Conflict with the Miller Doctrine, Or Any Other Precedent.”

       The Government argues that any discussion of the Miller doctrine is irrelevant in

determining the standard to apply in assessing causation in this case.         In so arguing, the

Government not only misunderstands Plaintiffs’ arguments in its prior SBP briefing with respect

to that issue, but also overlooks the Federal Circuit’s reference to that doctrine in citing to

Hardwicke and its significance as the underlying basis for the Hardwicke approach. Unlike in

SBP, Plaintiffs here are only arguing the Miller Doctrine in the context of when and how that

approach is to be carried out, as discussed at length in the prior SBP briefing and in section II.A

above. Accordingly, the Government’s argument misses the mark.

       C.      Government’s Argument: “The Proper Causation Standard Is Not an
               Impermissible Exclusionary Rule.”

       This is the same argument raised by the Government in section I.c, ECF No. 441 at 9-

10. Plaintiffs will not repeat their arguments refuting the same.


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IV.    CONCLUSION

       For the foregoing reasons, the Court, based upon the particular facts and circumstances of

this case, as found in its Trial Opinion, ECF No. 426, applied the correct standard for assessing

causation in this case, the Hardwicke standard. Specifically, the Court, in assessing causation,

was correct in applying a but for analysis to determine what the flooding would have been but

for the Government’s MRRP Changes (System and BSNP Changes to implement the MRRP)

starting in 2004.



Date: July 6, 2018                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE


        I hereby certify that I did on this 6th day of July, 2018, cause the above and foregoing to
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